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                            UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

 UNITED STATES OF AMERICA,                          Case No. 2:23-CR00047-JLS
      Plaintiff,
                                                    ORDER TEMPORARILY COMMITING
              v.                                    DEFENDANT TO THE CUSTODY OF
 THOMAS VINCENT GIRARDI,                            THE ATTORNEY GENERAL
      Defendant.                                    PURSUANT TO 18 U.S.C. §§ 4244,
                                                    4247(b)



      The Court, having concluded that a hearing pursuant to 18 U.S.C. § 4244 is required to
determine whether Defendant should be committed to a suitable facility in lieu of imprisonment,
HEREBY ORDERS Defendant Girardi committed to the custody of the Attorney General for
placement in a suitable facility for the purposes of an examination under sections 4244(b) and
4247. Specifically, the Court ORDERS AS FOLLOWS:
   1. The examination shall be conducted by a licensed or certified psychiatrist or psychologist at
      the Federal Medical Center in Butner, North Carolina (“Butner Medical Center”). No later
      than January 3, 2025, the Government shall file with the Court the name and qualifications
      of this person with the Court.

   2. As provided in 18 U.S.C. § 4247(b), the examination shall be conducted for a reasonable
      period, not to exceed 30 days. A maximum 15-day extension will be granted only upon
      application by the director of the facility showing good cause that additional time is
      necessary to observe and evaluate the Defendant.


  cc: USMS
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   3. Pursuant to 18 U.S.C. § 4247(c), the report shall be filed with the court promptly upon
      completion with copies provided to Defendant’s counsel and the attorney for the
      Government and shall include:

             a. Defendant’s history and present symptoms;
             b. A description of the psychiatric, psychological, and medical tests that
                were employed and their results;
             c. The examiner’s findings; and
             d. The examiner’s opinions as to diagnosis, prognosis, and whether
                Defendant is suffering from a mental disease or defect as a result of which
                he is in need of custody for care or treatment in a suitable facility. If the
                report includes an opinion that Defendant is presently suffering from a
                mental disease or defect but that it is not such as to require his custody for
                care or treatment in a suitable facility, the report shall also include an
                opinion concerning the sentencing alternatives that could best accord the
                defendant the kind of treatment he does need.

   4. Defendant shall surrender to the United States Marshal at the Los Angeles office, located
      within the First Street United States Courthouse, 350 West 1st Street, Suite 3001, Los
      Angeles, CA 90012-4545, no later than 7 a.m. on Wednesday, January 7, 2025 for secure
      medical air transport to the Butner Medical Center. The transportation shall be direct and
      completed within one day. Defendant may not be placed in custody or kept overnight at
      any facility other than the Butner Medical Center. If, between now and the date of
      surrender, the United States Marshal becomes aware of any logistical difficulty with
      compliance with this Order, notice shall be provided to the Court promptly. Upon
      completion of the examination, Defendant shall be returned to Los Angeles, California in
      the same manner.


   Upon receipt of the report described in Section 3, above, the Court shall set a date for a
hearing, which shall be conducted pursuant to 18 U.S.C. § 4247(d).
      IT IS SO ORDERED.
      DATED: December 20, 2024
                                                       ___________________________
                                                        HON. JOSEPHINE L. STATON
                                                        United States District Judge

CC: USMS



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